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OFFICE OF THE UNITED STATES TRUSTEE - REGION 3
POST-CONFIRMATION QUARTERLY SUMMARY REPORT

This Report is to be submitted for all bank accounts that are presently maintained by the post
confirmation debtor.

 

Debtor's Name: ZLOOP, INC. Bank: Iberia Bank
Bankruptcy Number: £5-11660 (KJC) Account Number:XXXXXXX5151
Effective Date: December 1, 2016 Account Type: Checking

 

Reporting Period (month/year): December 1, 2016 — December 31, 2016
Beginning Cash Balance: $0.00

All receipts received by the Debtor:

Proceeds from Litigation (settlement or otherwise): $0.00

Capital infusions pursuant to Plan: $243,973.98

Other: $118.69 (interest income)
Total of cash received: $244,092.67

Less all disbursements or payments (including payments made under the Plan) made by the Debtor:

Disbursements made under the Plan, excluding the administrative

claims of bankruptcy professionals: $0.00
Disbursements made pursuant to administrative
claims of bankruptcy professionals: $0.00
All other disbursements made in the ordinary course: $30,118.69
Total Disbursements $30,118.69
Ending Cash Balance $213,973.98

Pursuant to 28 U.S.C. Section 1746(2), I hereby declare under penalty of perjury that the foregoing is true
and correct to the best of my knowledge and belief.

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ate Name/Title
